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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                           MIDLAND DIVISION

ROBERT CADENA,                            §      No. 7:15–CV–195–DAE
                                          §
      Plaintiff,                          §
                                          §
vs.                                       §
                                          §
RECEIVABLES PERFORMANCE                   §
MANAGEMENT, L.L.C.,                       §
                                          §
      Defendant.                          §
                                          §

             ORDER APPROVING STIPULATION OF DISMISSAL

             Before the Court is a Stipulation of Dismissal signed by counsel for

Plaintiff Robert Cadena and Defendant Receivables Performance Management,

L.L.C. (Dkt. # 11). Finding that the stipulation complies with Federal Rule of

Civil Procedure 41(a)(1)(A)(ii), all claims in the instant suit against Defendant are

hereby DISMISSED WITH PREJUDICE pursuant to a settlement agreement

between the parties. The Parties have agreed to bear their own costs and fees.

             IT IS SO ORDERED.

             DATED: Midland, Texas, April 7, 2016




                                              _____________________________________
                                              David Alan Ezra
                                              Senior United States Distict Judge
